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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
               Plaintiff,                        )
                                                 )
       v.                                        )   No. 4:20CR00418JAR
                                                 )
WAIEL REBHI YAGHNAM,                             )
                                                 )
               Defendant.                        )

                                             ORDER

       IT IS HEREBY ORDERED that the sentencing as to Defendant Waiel Rebhi

Yaghnam is set for Wednesday, October 26, 2022 at 2:00 p.m.

       IT IS FURTHER ORDERED that the deadline for filing objections, if any, to the

Presentence Report is October 12, 2022.

       IT IS FURTHER ORDERED that no objections shall be filed after the deadline without

leave of the Court. A request for leave to file objections out of time must be in writing and

supported by reasons for the request.

       IT IS FURTHER ORDERED that the parties shall inform the Court, in writing, and not

less than ten (10) days prior to the sentencing date, whether testimony is to be presented at

sentencing and, if so, the anticipated number of witnesses, the names, general nature of the

testimony, and the estimated length of such testimony.

       IT IS FINALLY ORDERED that the parties must file any memoranda no later than

seven (7) days before the sentencing date except that a response to a sentencing memorandum

may be filed no later than five (5) days before the sentencing date.

Dated this 22nd day of July, 2022.
                                                  ____________________________________
                                                  JOHN A. ROSS
                                                  UNITED STATES DISTRICT JUDGE
